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      EXHIBIT 1
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  1                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA
  2                        MDL No. 2592, Section L
  3
             *********************************************
  4                    IN RE:   XARELTO (RIVAROXABAN)
                       PRODUCTS LIABILITY LITIGATION
  5                 THIS DOCUMENT RELATES TO ALL CASES
             *********************************************
  6                                - PROTECTED -
  7               - SUBJECT TO FURTHER PROTECTIVE REVIEW -
                                      _ _ _
  8
                           TUESDAY, NOVEMBER 8, 2016
  9
                        FRANK W. SMART, MD, FACC, FACP
 10
                                      _ _ _
 11
 12
 13
 14
 15
 16
 17                Videotaped / Realtimed Deposition of FRANK W.
 18    SMART, MD, FACC, FACP, held at the Lambert Law Firm,
 19    701 Magazine Street, New Orleans, Louisiana,
 20    commencing at 9:05 a.m., on the above date, before
 21    Pat English-Arredondo, CSR, RMR, CRR, CCR.
 22                                 _ _ _
 23                     GOLKOW TECHNOLOGIES, INC.
 24                 877.370.3377 ph | 917.591.5672 fax
 25                          Deps@golkow.com

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  9    ALSO PRESENT:

 10          Ms. Claire Noonan

 11          Ms. Jennifer Alexander

 12    VIDEOGRAPHER:

 13          Mr. Mark Ancalade

 14    COURT REPORTER:

 15          Ms. Pat English-Arredondo, CSR, RMR, CRR, CLR

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  1    investigator and I think I was listed as a

  2    subinvestigator on factor Xa reversal agent.           I don't

  3    think we enrolled any patients in that.

  4          Q.    Yeah, I saw that.      It didn't look like any of

  5    your patients were enrolled.        Thank you.

  6                      All right.    So the only research that

  7    you've done on Xarelto has been the PubMed search that

  8    you did after you were retained in the litigation,

  9    correct?

 10          A.    And before I was retained in the litigation,

 11    yes, ma'am.

 12          Q.    Tell me about before you were retained in the

 13    litigation.     What type of research did you do on

 14    Xarelto?

 15          A.    Trying to look at the utilization of the

 16    agent in patients that were, if you would, marginal for

 17    inclusion with taking the drug.

 18          Q.    When you say "marginal," what do you mean by

 19    that, sir?

 20          A.    The package insert gives doctors guidelines

 21    about the use of the agent and it's helpful.           But,

 22    unfortunately, it has cut points in it.          And

 23    occasionally people are not quite as easy to dose and

 24    to give drugs.     And so that's what I looked at.

 25          Q.    And what did you find when you looked into

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  1    that type of research?       What were your findings?

  2          A.    That the -- my opinion was that the patients

  3    that I was giving Xarelto, that had bleeding problems,

  4    were having them likely because of the fact that the

  5    dose of the drug was excessive.

  6          Q.    And that opinion was based on a PubMed search

  7    and your clinical experience with your patients?

  8          A.    I knew that I was having a challenge in a few

  9    patients that were -- where I thought that I had done

 10    as good a job as I could possibly do with giving them

 11    the drug and ended up with them having a GI bleed.

 12          Q.    You said a few patients.       How many is a few?

 13          A.    I think three or four.

 14          Q.    Three or four.     And you said they ended up

 15    with a GI bleed?

 16          A.    Yes, ma'am.

 17          Q.    GI bleeds are something you were aware of

 18    that could happen with any anticoagulant, correct?

 19          A.    Yes, ma'am.

 20          Q.    Including Xarelto, correct?

 21          A.    Yes, ma'am.

 22          Q.    And that information -- you said you looked

 23    at the package insert that was in the warnings of the

 24    package insert, correct?

 25          A.    I'm sorry.    Your question was sort of fast

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  1    there.     I wasn't paying attention.      Say it again.

  2          Q.     No problem.    Any time I get going with that

  3    (indicating) coffee, slow me down.         And I'm from the

  4    south.     I'm from New Orleans, too, so...

  5                      But my question was, the fact that some

  6    of your patients who may have been on -- or who were on

  7    Xarelto had GI bleeds was something -- a risk that you

  8    were aware of before you prescribed it, correct?

  9          A.     Yes, ma'am.

 10          Q.     And that information is in the package

 11    insert?

 12          A.     That is correct.

 13          Q.     But, nonetheless, you wanted to look into

 14    what was happening with these three or four patients,

 15    correct?

 16          A.     I wanted to get a better feeling for why the

 17    GI bleeds occurred in these three or four patients

 18    because these were, I thought, people that should have

 19    been fine.

 20          Q.     And what did you do to -- to look into that?

 21    You did a PubMed search?

 22          A.     Yes, ma'am.

 23          Q.     And what -- what exactly was your search?

 24          A.     I'm sorry.    "Exactly" is challenging because

 25    it was a long time ago.       But it was basically the

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  1    dosing of the agent, the renal function and the

  2    alterations in the renal function.

  3          Q.    Okay.   Dosing agent, renal functions,

  4    alterations.

  5                      And what did you learn from that PubMed

  6    search?

  7          A.    I concluded that at a once-a-day dosing of

  8    20 milligrams, people were overanticoagulated for about

  9    12 hours out of the day.

 10          Q.    Okay.   And that was based on what articles?

 11          A.    The Kim article was the one that really drove

 12    it home for me more than any other.

 13          Q.    Were there any others aside from the Kim

 14    article?

 15          A.    No, really.

 16          Q.    So the -- so the main article or the only

 17    article is the Kim article?

 18          A.    Before I had -- that's when you asked me when

 19    I did my own PubMed search.

 20          Q.    Yes, sir.    And I want to stay there, to make

 21    it clear, before we moved into when you got involved in

 22    the litigation.

 23                      So when did this take place?        That's a

 24    good point.     When were you looking into what was going

 25    on with these three or four patients?          What time frame?

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  1          A.    2015.

  2          Q.    Was this after you were approached by

  3    Mr. Whitehead?

  4          A.    No, ma'am.

  5          Q.    So it would have been before Mr. Whitehead?

  6          A.    Correct.

  7          Q.    Was this after there were advertisements

  8    about lawsuits with Xarelto?

  9          A.    I --

 10          Q.    Hard to say?

 11          A.    I saw the lawsuits with -- I mean, the call

 12    1-800 bad drug, I've seen that for a while.           I couldn't

 13    tell you how long that's been going on because I really

 14    try not to pay attention to mess like that.

 15          Q.    Why not?

 16          A.    I don't find it very savoring.

 17          Q.    Why not?

 18          A.    Because I don't like -- well, I don't like

 19    the legal system in any of its avenues.

 20          Q.    Have you ever had patients come in to you and

 21    ask questions about medications that they have seen or

 22    advertised on TV or on billboards?

 23          A.    All the time.

 24          Q.    And what do you tell them?

 25                       MR. DENTON:    Object to the form.      It's a

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   1          Q.    When you were trying to understand what was

   2    happening with the three or four patients, the Xarelto

   3    patients that you described for us earlier --

   4          A.    Yes, ma'am.

   5          Q.    -- you told us that you did a PubMed search

   6    and you looked at dosing of agent, renal functions, and

   7    alteration of renal functions, and you found the Kim

   8    article.

   9          A.    Yes, ma'am.

  10          Q.    Did you find any other articles?

  11          A.    I looked at others, I'm sure.        I did not hone

  12    in on them because the Kim article seemed to be a very

  13    good synopsis of what I was trying to find.

  14          Q.    And other than the Kim article, what else did

  15    you RE-LY on in trying to understand what was happening

  16    with those three or four Xarelto patients that you were

  17    looking at in 2015?

  18          A.    I don't believe anything else.

  19          Q.    And what was your conclusion?

  20          A.    That the dose was too high --

  21          Q.    The dose was too high.

  22          A.    -- of Xarelto.

  23          Q.    So going back to Exhibit A -- I'm just going

  24    to ask you questions.      I'm not going to ask you to go

  25    through and read all that.

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   1          A.    Again, I think an observational study is

   2    helpful but not as definitive as a randomized

   3    controlled clinical trial; and I think a meta-analysis

   4    of multiple randomized controlled clinical trials is

   5    more helpful than a small or smaller randomized

   6    controlled clinical trial.

   7          Q.    In your report you cite the ROCKET trial as

   8    the pivotal randomized controlled trial for the AFib

   9    indication to support your opinion, correct?

  10          A.    Yes, ma'am.

  11          Q.    And then you also cite the AFib trial

  12    for Eliquis --

  13          A.    I'm sorry, let me go back and clarify that,

  14    if you would.     Ask the question again.

  15          Q.    Sure.   You are relying on ROCKET, the ROCKET

  16    study, as support for the -- your opinion with respect

  17    to your rivaroxaban opinions, correct?

  18          A.    No, ma'am.

  19          Q.    Oh, you're not?

  20          A.    So the ROCKET-AF study, I said, was the

  21    pivotal study for the approval of rivaroxaban.

  22                      My -- my opinion is based off of the Kim

  23    article and the Graham article and some of the others

  24    that I've cited.

  25          Q.    We'll get to that.

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   1                      So you cite the ROCKET opinion.        You also

   2    cite the ARISTOTLE opinion?

   3                      MR. DENTON:    Object to form.     What is a

   4    ROCKET opinion?

   5          A.    So I don't have an opinion on ROCKET-AF nor

   6    do I offer an opinion on ARISTOTLE in my report.

   7          Q.    (By Ms. Moore)     But you cite the AFib

   8    clinical trial for Eliquis, the ARISTOTLE study,

   9    correct?

  10          A.    I don't cite it.     I used the ARISTOTLE --

  11    again, the -- I have looked at ARISTOTLE just like I've

  12    looked at RE-LY and I've looked at ROCKET-AF, yes,

  13    ma'am.

  14                      But, again, my -- the opinion, those were

  15    those trials, the pivotal trials that had those drugs

  16    approved.

  17                      My opinion is not based solely on

  18    ROCKET-AF.    As a matter of fact, my opinion is based on

  19    some of the surrounding articles about ROCKET-AF and

  20    its lack of -- lack of breakdown of the US data, lack

  21    of adequate control in the time to -- the therapeutic

  22    time and therapeutic range and things like that.

  23          Q.    We are going to get there.

  24                      Doesn't the peer-reviewed literature

  25    establish that head-to-head randomized trials are

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   1    required to demonstrate a reliable comparison between

   2    different NOACs?

   3                      MR. DENTON:    Again, I object to the

   4    form.

   5          A.    I'm sorry.    Ask the question again.

   6          Q.    (By Ms. Moore)     Sure.

   7                      Doesn't the peer-reviewed literature

   8    establish that head-to-head randomized trials are

   9    required to demonstrate a reliable comparison between

  10    the different NOACs?

  11          A.    I'm not aware of that in the peer-reviewed

  12    literature.

  13          Q.    And you would disagree with that?

  14          A.    I -- again, a head-to-head comparison would

  15    certainly be the best.      However, if you took the

  16    published data from one and the published data from

  17    another and those parameters were similar, I think that

  18    you can use those -- that information to judge the

  19    comparison of agents.

  20          Q.    Why would a head-to-head be best?

  21          A.    Why would a head-to-head be best?

  22          Q.    Uh-huh.

  23          A.    Because then you have the absolute comparison

  24    of the drugs in the population that you're trying to

  25    study.

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   1    studies that indicate that direct comparisons, direct

   2    head-to-head studies are needed in order to effectively

   3    establish the comparative effectiveness and safety of

   4    NOACs?

   5          A.    I concur with the statement that we would be

   6    better off if we had direct head-to-head comparisons of

   7    the NOACs, yes, ma'am.

   8          Q.    And you didn't mention what those authors

   9    said in your report, correct?

  10          A.    I did not mention in either.

  11          Q.    Well, you did not mention.       It's not in

  12    there, sir.

  13          A.    Well, maybe because I -- it -- I think it's

  14    an intuitive consideration.       Again, my report doesn't

  15    necessarily talk about all of the science surrounding

  16    everything in this.      It is --

  17          Q.    This is an important conclusion, sir.

  18          A.    Okay.   Well, then, I answered the question.

  19    What else should I answer for you in that regard?

  20          Q.    You also cite Yao -- and, again, it's a -- at

  21    the conclusion.     Let's go back to the Larsen

  22    conclusion.    Look at it for me, please.

  23                      You want to read that into the record.

  24    You agree?

  25          A.    "All NOACs are generally safe and effective

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   1    alternatives to warfarin in a clinical care setting.

   2    For ischemic stroke, our weighted analysis suggests

   3    no ... differences between NOACs and warfarin."

   4           Q.   You failed to mention that in your report,

   5    sir?

   6           A.   Because I don't agree with it.

   7           Q.   So you cherry-picked what you wanted out of

   8    that study?

   9           A.   I'm sorry, I don't agree with it based on

  10    later information.     So the Graham article, I think,

  11    completely offsets some of this.

  12           Q.   My question to you is, you picked some

  13    information out to support your opinion, but you did

  14    not rely on the author's conclusion --

  15           A.   Because I don't agree with it.

  16           Q.   Fine.   Let's go to the Yao study that you

  17    also cited.    Well, take a look at it.       I'm focused on

  18    Page 16.    There you go.

  19                      (Marked was Exhibit Smart-8.)

  20                      MS. MOORE:    There you, Counsel.

  21                      MR. DENTON:    8?   What happened to 7?

  22                      MS. MOORE:    7 is Larsen.

  23                      MR. DENTON:    Okay.   Thank you.     Hold on.

  24    Hold on.    I'm not quite as fast as you are.

  25           A.   Okay.

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   1    I said I thought there should be.

   2          Q.    Who has more expertise in the area of

   3    labeling and black box warnings, the FDA or you?

   4                      MR. DENTON:    Object to the form.

   5          A.    Okay.   The FDA certainly has more expertise

   6    in black box warnings.

   7          Q.    (By Ms. Moore)     And you would defer to them,

   8    correct?

   9                      MR. DENTON:    No, he would not.      He has

  10    got an opinion.

  11                      MS. MOORE:    Wait.   Counsel.

  12                      MR. DENTON:    He has an opinion.

  13                      I object to the form.

  14                      MS. MOORE:    Counsel, I object.      I've

  15    been really nice today.

  16                      MR. DENTON:    Really?    Okay.

  17          Q.    (By Ms. Moore) Counsel [sic] --

  18          A.    I'm not a counsel, but that's all right.

  19          Q.    (By Ms. Moore)     You can call me "Doctor."

  20          A.    I think that a black box warning is

  21    indicated.    I wrote that in my report, and I wrote why.

  22          Q.    With respect to the INR device, the FDA has

  23    concluded that no labeling changes were needed,

  24    correct?

  25                      MR. DENTON:    Object to the form.

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   1          A.    Yes, ma'am.

   2          Q.    (By Ms. Moore)     You claim in your report that

   3    doctors have been adequately informed as to overall

   4    risk because of the lack of a black box, right?

   5          A.    I don't think you said that correctly.         If

   6    you did, the answer is no.

   7          Q.    Do you believe a black box should be on

   8    Xarelto?

   9          A.    Yes, ma'am.

  10          Q.    What do you think -- specifically what do you

  11    think should be stated in that black box?

  12          A.    That there is in ROCKET-AF -- because of

  13    irregularities, whatever, there is no study right now

  14    that says that there is increased safety in bleeding.

  15                      If warfarin has a black box warning for

  16    bleeding, as I stated, I believe Xarelto should have a

  17    black box warning for bleeding.

  18          Q.    Any other reasons?

  19          A.    No, ma'am.

  20          Q.    Sir, anyone who reads the Xarelto label

  21    understands that Xarelto can result in a serious bleed

  22    and death, correct?

  23          A.    Yes, ma'am.

  24          Q.    And that's something you know to -- from your

  25    experience with all anticoagulants, especially with

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   1    Xarelto, correct?

   2          A.    I like the way you said that, "especially

   3    with Xarelto."      Yes, ma'am, I believe that especially

   4    with Xarelto.      I -- I would agree with that.

   5          Q.    So you have experience with Xarelto and you

   6    are aware that there is a risk of serious bleeding and

   7    death?

   8          A.    Yes, ma'am.    That's why I don't use it

   9    anymore.

  10          Q.    Let's turn to Exhibit 16.       This is the label.

  11                       (Marked was Exhibit Smart-16.)

  12                       MR. DENTON:   Which one?

  13          A.    This is the 2011 label you gave me.

  14          Q.    (By Ms. Moore)     Let's go through a few of

  15    these, I think -- you kind of -- it's something that

  16    you referenced earlier.      Let's look in the -- when

  17    you're ready, sir.      This is --

  18          A.    I'm ready.

  19          Q.    -- the Xarelto prescribing information.         You

  20    look under "Warnings and Precautions."

  21          A.    Would you give me a page?

  22          Q.    Yes.    It should be on the very first page

  23    under "Warnings and Precautions."

  24          A.    I see "Warnings."     I'm looking for

  25    "Precautions."

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   1                      MR. DENTON:    Object to the form.

   2          A.    Again -- well, I was not aware that it was to

   3    harmonize, but it certainly -- if that's what you say

   4    that's what prompted it, yeah.

   5          Q.    (By Ms. Moore)     You're not aware of a safety

   6    issue specific to Xarelto that would have prompted the

   7    September 2015 labeling change?

   8                      MR. DENTON:    Object to the form.

   9          A.    I don't know that there was something with

  10    Xarelto that prompted the labeling change.          I -- again,

  11    I'm -- continued to be surprised that there has not

  12    been a labeling change after multiple papers have shown

  13    the 20 milligram dose is excessive.

  14          Q.    (By Ms. Moore)     Are you aware of any peer

  15    review -- you said multiple papers.         What papers are

  16    you referencing?

  17          A.    The Canadian paper, the Kim paper, and the

  18    Graham paper.

  19          Q.    The Canadian paper, did you ever recall the

  20    name of that paper?

  21          A.    It was in the Canadian Journal of Cardiology.

  22    The Kim paper is what it is.

  23          Q.    The Kim paper?

  24          A.    Yes, ma'am.

  25          Q.    And then the Graham paper?

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   1          A.    Yes, ma'am.

   2          Q.    Any other papers?

   3          A.    No, ma'am.

   4          Q.    What is your -- you believe those papers say

   5    exactly what?     I want to make sure I understand your --

   6          A.    Well, I believe the Graham paper concluded

   7    that the rivaroxaban had an increased risk of

   8    intracranial hemorrhage and had an increased risk of

   9    gastrointestinal bleeding in Medicare recipients.           I

  10    should clarify that.

  11          Q.    And the Kim paper we've talked about, and we

  12    will talk more about in a few minutes.

  13          A.    I hope.

  14          Q.    With respect to your opinions on the US

  15    subpopulation data --

  16          A.    Yes, ma'am.

  17          Q.    -- you're aware that the FDA analyzed that

  18    data and concluded it to be a chance finding in a small

  19    subset, correct?

  20                      MR. DENTON:    Object to the form.      Unless

  21    you're going to show him something.

  22          A.    I certainly -- am I aware that the FDA

  23    analyzed that data and said that?        I am not aware that

  24    they said those particular things.

  25                      What I am aware of is that there was an

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   1    predictable pharmacokinetics, pharmacodynamics and wide

   2    therapeutic range, routine laboratory measurement of

   3    the drug's anticoagulant effect is usually not

   4    required."

   5                      Did I read that correctly?

   6          A.    You did.

   7          Q.    So do you disagree again with --

   8          A.    Yes, ma'am, I do.

   9          Q.    -- Gosselin?

  10          A.    Yes, ma'am.

  11          Q.    And let me just get my full question out.

  12                      Do you disagree that Xarelto has a wide

  13    therapeutic range?

  14          A.    I agree with all of those statements.

  15                      So I disagree that it has a wide

  16    therapeutic range.     I disagree that routine laboratory

  17    monitoring at the current dose is -- is not required.

  18                      I think that -- and, again, I'm going to

  19    go back to the Graham article.        I think that there is

  20    an increased risk in the Medicare population of both

  21    intracranial hemorrhage and gastrointestinal bleeding.

  22                      I think that short of changing the dose

  23    of the drug and changing the dose interval of the drug,

  24    that there should be some type of monitoring considered

  25    so that we would know if patients were

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   1    overanticoagulated.

   2          Q.    I'm -- what peer-reviewed article are you

   3    citing for the fact that Xarelto has a narrow

   4    therapeutic window, other than the Gong article that we

   5    already discussed?

   6          A.    The Kim article is what I call it.        That's --

   7    that's where that came from.

   8          Q.    Okay.   Now, you also say that Xarelto, on

   9    Page 3 of your report, is a highly variable drug with

  10    respect to liver and kidney breakdown.

  11                      Did I read that right?

  12          A.    Yes, ma'am.

  13          Q.    And what was your methodology for reaching

  14    that conclusion that Xarelto was a highly variable

  15    drug?

  16          A.    The package insert.

  17          Q.    So you rely on the package insert?

  18          A.    Yes, ma'am.

  19          Q.    Okay.   Anything else that you're relying on

  20    that Xarelto is a highly variable drug, other than the

  21    package insert?

  22          A.    No, ma'am.

  23          Q.    Okay.   And how are you defining "highly

  24    variable drug"?

  25          A.    People are going to, with varying renal

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   1          Q.    So if it's not actually 20, it's 15 that's

   2    the cutoff?

   3          A.    15.   Correct.    And, again, my -- I was

   4    looking at my number that I wrote here, 20, as an

   5    example.

   6                      But, again, my point in what I'm trying

   7    to say is that varying -- those fringe patients I

   8    alluded to before, those people that are just right on

   9    the cusp of being able to get the drug and get it at

  10    15 milligrams, I believe the dose is high.

  11                      I also believe that the dose of

  12    20 milligrams is high.       And that's what I go into.       So

  13    I believe the dose is too high.

  14          Q.    And what sources are you relying on for your

  15    opinion that the dose is too high?

  16          A.    Again, the Kim article, the -- the Kim

  17    article is the biggest one that supports the dose being

  18    too high.    So, again, back to that dotted line above

  19    the therapeutic index of the drug.

  20          Q.    But the Kim -- Dr. Kim and Dr. Gong do not

  21    conclude in that article that the Xarelto dose is too

  22    high, correct?

  23          A.    It's not concluded in that article the

  24    Xarelto dose is too high.

  25          Q.    That's your interpretation?

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   1          A.    That is also correct.

   2          Q.    And you're not saying, Doctor, that the

   3    makers of Xarelto should reduce the bleeding risk to

   4    zero, correct?

   5          A.    No, ma'am, I don't think that's possible.

   6          Q.    But there is always going to be patients that

   7    are going to bleed on Xarelto, correct?

   8          A.    Correct.

   9          Q.    And there's always going to be patients that

  10    are going to bleed on warfarin, correct?

  11          A.    Yes, ma'am.

  12          Q.    And there's always going to be patients that

  13    are going to bleed on Pradaxa, correct?

  14          A.    Yes, ma'am.

  15          Q.    And there's always going to be patients that

  16    bleed on Eliquis, correct?

  17          A.    Yes.

  18          Q.    And that's because --

  19          A.    Can I finish that thought, though?

  20          Q.    Sure.

  21          A.    I believe in all of those cases, the risk and

  22    benefit ratio should favor not doing any harm to the

  23    patients.

  24          Q.    Understood.    And would you agree with me that

  25    all anticoagulants -- the reason why there is an

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   1          A.    I have agreed with that already.        Yes, ma'am.

   2    That's why I said I try to reduce their risk of

   3    bleeding by not overanticoagulating them with a higher

   4    dose of rivaroxaban.

   5                      I use the twice-a-day administration of

   6    apixaban so that it stays with a closer tab on the

   7    therapeutic index that we were discussing.

   8          Q.    Let's take a look at Page 5 of your report.

   9    Paragraph 6 you say "The dose of Xarelto currently

  10    marketed for atrial fibrillation is too high," right?

  11          A.    Yes, ma'am.

  12          Q.    And I think you said this earlier, but I just

  13    want to make sure.     The study you're relying on for

  14    that statement is the Gong article, correct?

  15          A.    Yes, ma'am.

  16          Q.    And no others?

  17          A.    No, ma'am.    Actually, it was nice to see -- I

  18    concluded that prior to any Xarelto expert litigation.

  19    I was interested when I saw Dr. Califf's comment that

  20    it was -- the dose is too high.

  21          Q.    So you're also relying on Dr. Califf's

  22    comments?

  23          A.    No, ma'am, not for my report.        Dr. Califf's

  24    comment was an interesting aside to me.

  25          Q.    So on Page 6 of your report where you talk

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   1    about that your opinion is shared by Dr. Califf --

   2          A.    I think that's on Page 7.

   3          Q.    Maybe I'm -- it looks like Page 6.

   4          A.    Oh, I'm sorry.     You're right.     It is Page 6.

   5    I apologize.    I was on Point 6 and not Page 6.         You're

   6    correct.    It is Page 6.    And, yes, that is what I said.

   7          Q.    So you've -- you're just -- you're saying

   8    that your opinion is shared by Dr. Califf and you're

   9    not relying on any of these e-mails to reach your

  10    conclusion that the dose is too high?

  11          A.    No, that is what I rely on.       I have not

  12    spoken to Dr. Califf.      Again, my opinion the dose is

  13    too high is shared by Dr. Califf who stated, "My main

  14    concern after seeing the rest of the data is that our

  15    dose is too high."

  16          Q.    So just let me understand.       You're relying on

  17    the Gong article and you're also relying on the various

  18    e-mails that you've cited here, correct?

  19          A.    My conclusion was based on the Gong article

  20    and was way before I ever saw the Califf e-mail.

  21    Seeing the Califf e-mail validated my feeling that the

  22    dose was too high.

  23          Q.    Okay.   And just so I'm clear, these Califf

  24    e-mails, they were provided to you by plaintiffs'

  25    counsel, correct?

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   1          A.    Yes, ma'am.

   2          Q.    And in publishing peer-reviewed literature

   3    yourself, have you ever referred to an internal company

   4    e-mail as a reference in a published article that

   5    you've written?

   6          A.    No.   I can't think that in any publication I

   7    would refer to anything other than the science of the

   8    information.

   9          Q.    And did you do a literature search to see

  10    whether Dr. Califf had published on the dosing for

  11    Xarelto?

  12          A.    I did not.

  13          Q.    You're aware that Dr. Califf was on the

  14    ROCKET-AF executive committee, correct?

  15          A.    Yes, ma'am.    He is the senior author of the

  16    trial, yes, ma'am.

  17          Q.    And he's one of the authors on the Patel 2011

  18    paper?

  19          A.    The senior author, yes, ma'am.

  20          Q.    And hold on one second.      Let me just find

  21    that study because I want to ask you questions about it

  22    if -- I got it.     I got it.

  23                      (Marked was Exhibit Smart-21.)

  24          Q.    (By Ms. du Pont)     I'm marking as Defense

  25    Exhibit 21 the Patel article published in the New

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   1          A.    I'm saying that the information in the trial

   2    is skewed because of the Alere device.         The degree with

   3    which the trial is skewed because of the Alere device

   4    is anybody's guess.      And that's what I'm saying.       It's

   5    anybody's guess.

   6                      Therefore, I don't believe that a

   7    mathematical model substituting for anybody's guess

   8    should be sacrosanct as the tacit approval of a

   9    clinical trial or any clinical trial.

  10                      And therefore absent a clinical trial

  11    that is conclusive and done well, I think that the

  12    black box warning should be on -- for bleeding in

  13    rivaroxaban/Xarelto.

  14          Q.    Now, the device in the clinical trial for

  15    ROCKET, we don't know whether those devices were

  16    faulty, correct?

  17                      MR. DENTON:    Object to the form.

  18          A.    Oh, absolutely we know.      I don't know that we

  19    know all of them; but we know that at the 12- and

  20    24-week mark, that the laboratory studies differed from

  21    the monitoring of the home device.

  22          Q.    (By Ms. du Pont)     Is your sole reason for

  23    suggesting there should be a black box on Xarelto based

  24    on the allegedly faulty device?

  25          A.    No, ma'am.    My statement -- and I will redo

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   1    it again.    It's like the fifth time we've talked about

   2    it.

   3                      I believe that the faulty Alere device

   4    created a circumstance in which we cannot judge whether

   5    ROCKET-AF's conclusions are valid or not.

   6                      Absent that conclusion, I believe that

   7    the warning label of Xarelto should be similar to that

   8    of warfarin, which is a black box warning for bleeding.

   9          Q.    So you disagree with the FDA who this year

  10    has said that the Alere device and any discrepancies

  11    that resulted with the Alere device did not require a

  12    labeling change, correct?

  13          A.    Obviously.

  14          Q.    Now, in your report, on the second-to-last

  15    page at the bottom of the page --

  16                      MR. DENTON:    What page number, please?

  17                      MS. DU PONT:    7.   Sorry.

  18                      MR. DENTON:    Thank you.

  19          Q.    (By Ms. du Pont)     You say, "it is my opinion

  20    that the use of Xarelto in patients with nonvalvular

  21    atrial fibrillation is not reasonably safe."

  22          A.    "When prescribed in a manner suggested by the

  23    package insert, exposes patients to excessive bleeding

  24    risk.   Furthermore, this risk is increased in older

  25    patients and patients who are small and weigh less than

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   1    on --

   2          A.    My God, I don't think so.       I don't believe

   3    there is anything else that we have not discussed

   4    today.

   5                      Everything that I have relied upon, I

   6    have given you as part of my report, and my report is

   7    what it is, so...

   8          Q.    Are you saying that the FDA should remove

   9    Xarelto from the market?

  10          A.    Interesting question.      I think that the FDA

  11    should at least inform physicians of the risk of

  12    Xarelto as compared to other NOACs and as compared to

  13    what the published data shows, No. 1.

  14                      No. 2, I went on record before as saying

  15    I don't believe that the compound is the issue.           I

  16    believe the dosing is the issue.

  17                      So I believe the dose interval is too

  18    long, and to get that dose interval to have an

  19    effective minimal trough, we give too high of an

  20    initial dose and patients are overanticoagulated for a

  21    good 12 hours out of the course of a day.

  22                      And I think -- my opinion -- there is no

  23    publication, no nothing else -- that this

  24    overanticoagulation and this trying to make a

  25    twice-a-day drug fit into a once-a-day administration

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   1    regimen is what has resulted in the bleeding

   2    complications that I have seen with Xarelto and that's

   3    why I no longer use the drug, and that's why I also

   4    encourage my students and other physicians not to use

   5    the drug.

   6          Q.    Doctor, you disagree with the FDA who has

   7    approved the medication of the 20-milligram and the

   8    15-milligram dose, correct?

   9          A.    Yes, ma'am.

  10          Q.    You disagree with the EMA who has approved

  11    this medication, correct?

  12          A.    I'm sorry.    So I disagree with Xarelto at 20

  13    milligrams once a day being an acceptable dose for

  14    patients, yes, ma'am.

  15          Q.    And you disagree with the EMA who has also

  16    recently reaffirmed the safety and efficacy of that

  17    level of dosing?

  18          A.    Yes, ma'am, I do.     I believe there are safer

  19    alternatives, i.e., apixaban.

  20          Q.    And you disagree with the 111 countries

  21    around the world that have approved this medication,

  22    correct?

  23          A.    I'm sorry.    So -- I can't say I

  24    disagree -- if in fact you're asking me do I believe

  25    20 milligrams of Xarelto once a day is too high and

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   1          Q.     Okay.   And then the time today, assuming we

   2    go seven hours --

   3          A.     Oh, God, please.    But, yes, whatever it is

   4    today.     I guess I'm going to bill them when I got here

   5    at 8:00 o'clock this morning to whatever time I leave

   6    here this afternoon, so...

   7                      MR. DENTON:    Actually, we

   8    think -- actually, we haven't decided, but we think

   9    that's your bill.      You asked for the deposition, but we

  10    will deal with that in another setting.          And the length

  11    of the deposition is clearly on you guys, not us.

  12                      MS. MOORE:    Is that on the record?

  13                      MR. DENTON:    Yes, it was.

  14                      (Brief off-the-record comment.)

  15          Q.     (By Ms. Du Pont)    Okay.    Doctor, we've talked

  16    about your opinion about the fact that the Xarelto

  17    doses --

  18                      MS. MOORE:    Strike that.

  19          Q.     (By Ms. Du Pont)    Sorry.    Let me start over

  20    again.

  21                      We've talked today about how your opinion

  22    is that the Xarelto doses is too high and you referred

  23    to both the Kim study as well as the Graham study,

  24    correct?

  25          A.     The Kim study is what I referred to for the

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   1    dose being too high.      The Graham study I refer to

   2    because of the comparison -- the comparator between

   3    NOACs and -- and based on the retrospective analysis of

   4    the Medicare population.

   5          Q.    So you're not relying on Graham for

   6    the -- for your conclusion that the dose is too high?

   7          A.    Correct.

   8          Q.    Okay.   But you are relying on Graham for the

   9    comparative efficacy of Xarelto compared to the other

  10    NOACs, correct?

  11          A.    Yes, ma'am.

  12          Q.    I'm just going to mark Graham -- what did I

  13    do with my copy?

  14                      I'm going to mark as Defendant's

  15    Exhibit 22 the Graham article you've been referring to,

  16    doctor.

  17          A.    Yes, ma'am.

  18                      (Marked was Exhibit Smart-22.)

  19          Q.    (By Ms. du Pont)     And, doctor --

  20                      MR. DENTON:    Do you have a copy?

  21                      MS. DU PONT:    I'm so sorry.

  22    (Tendering.)

  23          Q.    (By Ms. du Pont)     You would agree with me

  24    that this was a retrospective cohort study, correct?

  25          A.    Yes, ma'am.

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   1          Q.    And if he had reached the conclusion that the

   2    benefits of Xarelto outweighed the risks for a

   3    particular patient, you would disagree with him?

   4          A.    Yes, ma'am.

   5          Q.    Just back to -- to -- back to Graham.

   6                       Dr. Graham doesn't say -- any other

   7    co-authors -- he doesn't say that Xarelto is the worst

   8    in class, does he?      That's not the conclusion that's

   9    reached in his article, is it?

  10          A.    Are those words in the article?

  11          Q.    Yes.

  12          A.    I don't believe so, but it does say

  13    "treatment with rivaroxaban 20 milligrams once daily

  14    was associated with statistically significant increases

  15    in intracranial hemorrhages and major extracranial

  16    bleeding."

  17                       THE WITNESS:   (To Reporter) I'm sorry.

  18          A.    I will show you where that came from.

  19    "Including major gastrointestinal bleeding compared

  20    with dabigatran 150 milligrams twice daily."

  21          Q.    And you didn't read the fact that rivaroxaban

  22    used was associated with a statistically nonsignificant

  23    reduction in thromboembolic stroke, correct?

  24          A.    I'm sorry.    I'm just reading the conclusion

  25    from the front of the page.       I did not read anything

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   1    else.    You're correct.

   2          Q.     But you would agree with me that nowhere in

   3    this article does Dr. Graham say Xarelto is the worst

   4    in class, correct?

   5          A.     Those words, to my knowledge, do not appear

   6    in this article.     It certainly is inferred, but it does

   7    not appear.

   8          Q.     Doctor, I am going to present you with an

   9    authorization to release your employment records in

  10    connection with this litigation.        I'm going to ask you

  11    to read it over, sign it.

  12                      MR. DENTON:    Hey, wait a minute.      If you

  13    want to -- if you want to give me something, I will

  14    take a look at it.     But he's not signing anything here

  15    today.     It's outside of the Rules.      So we will take it

  16    up at some other time.

  17                      MS. DU PONT:    Why is it outside of the

  18    Rules?

  19                      MR. DENTON:    Where in the deposition

  20    protocol does it say an expert witness has to sign an

  21    authorization --

  22                      MR. McWILLIAMS:     Just send us this

  23    authorization and we will take it under advisement, but

  24    he's not sign anything today.

  25                      MR. DENTON:    Correct.

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   1                              CERTIFICATE
   2            I, Pat English-Arredondo, CSR, RMR, CRR, CCR, do
   3    hereby certify that prior to the commencement of the
   4    examination, FRANK W. SMART, MD, FACC, FACP, was duly
   5    sworn by me to testify to the truth, the whole truth
   6    and nothing but the truth.
   7          I FURTHER CERTIFY that the foregoing is a verbatim
   8    transcript of the testimony as taken stenographically
   9    by and before me at the time, place and on the date
  10    hereinbefore set forth, to the best of my ability.
  11          I FURTHER CERTIFY that pursuant to FRCP Rule 30,
  12    signature of the witness was waived by the witness or
  13    other party before the conclusion of the deposition.
  14           I FURTHER CERTIFY that I am neither a relative
  15    nor employee nor attorney nor counsel of any of the
  16    parties to this action, and that I am neither a
  17    relative nor employee of such attorney or counsel, and
  18    that I am not financially interested in the action.
  19          Certified by me on this 12th day of November, 2016.
  20

  21                      _________________________________________
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